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                 EXHIBIT 10
                Case 21-32351 Document 846-10 Filed in TXSB on 12/03/21 Page 2 of 2


Hughes, Patrick

From:                              Bobby Salehi <Bobby.Salehi@lonestarports.com>
Sent:                              Tuesday, November 2, 2021 6:05 PM
To:                                Mark Shapiro; Frank Cottrell
Cc:                                Lawrence Berry; Dennis Berry; Berry Marvin; Tonja Fulghum; Peter Wisniewski; Butch
                                   Boyd; McDonald, Bill; Wyrick, Martha; Hughes, Patrick
Subject:                           Bay Limited - Bid Transmittal Letter, Revised APA, etc.
Attachments:                       Limetree Bay - Bay Ltd. Bid Transmittal Letter 4893-3567-9233_2 (002) (002).pdf;
                                   Limetree Bay - Form of Asset Purchase Agreement, 4817-5780-1210_5.doc; Redline to
                                   Form APA.pdf; Schedule 1.2(a) to APA, 4882-5715-8145_2.docx; Schedule 1.2(c) to APA;
                                   LBR Consolidated Asset Details 10.21.2021.pdf



EXTERNAL: Sent from outside Haynes and Boone, LLP

Mark/Frank –

Please see attached for the following attachments:
    1. Bid Transmittal Letter in PDF
    2. Revised Asset Purchase Agreement (“APA”) in Word
    3. Redline to the original Form APA in PDF
    4. Two Schedules referenced in the APA (Schedule 1.2(a) in Word and Schedule 1.2(c) in PDF)

Please note that we will be sending a series of follow-up emails tomorrow that will include the remaining Schedules.

We look forward to discussing this with you tomorrow.

Best regards,

Bobby Salehi
Lone Star Ports
Chief Financial Officer
Office: (713) 623-2412
Cell: (832) 279-4814

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